Case 2:04-cv-02776-STA Document 10 Filed 08/10/05 Page 1 of 3 Page|D 16

UNITED STATES DISTRICT COURT
wEerRN DISTRICT oF TENNESSEE
s. THoMAs ANDERsoN
UNITED sTATEs MAGISTRATE JUDGE

IX ] 934 FEDERAL BUILDING

[]41'1l U.S. COURTHOUSE
lllS.HIGl-IL.AN'I_`) 167N.MAIN
JACKSON, TN 38301 MEMPI-HS. TN 38103
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FAX (901) 495-1324

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August 5, 2005

Mr. Andrew L. Wener Mr. Carl Wyatt
Petkoff & Lancaster Glassman, Edwards, Wade & Wyatt

305 Washington Avenue, Suite 201 26 North Second Street Building
Memphis, Termessee 38103 Memphis, Tennessee 38103

Mr. Lester T. Wener

McWhorter & Wener 3 g
100 N. Main Street § h g
suite 1234 95 g
Memphis, Tennessee 38103 *':; g 3
rif =:>
RE: Elnora Young v Donald Mensah, et al. § § 3 F
Uniced states Disrriet Courr No.; 04-2776_An vs§ '>? o
§§ i'>

Counsel:

This will confirm that a jury trial has been scheduled in the above-referenced matter for
TUESDAY, APRIL 25, 2006, at 10:00 a.m. I will advise you of the courtroom assigned for this

trial at a later date.

The parties shall confer and submit a proposed joint pretrial order on or before
MONDAY, APRIL 17, 2006 Please fax a copy of the joint pretrial order to my chambers in

Jackson at (731) 421-927'2.

At this point, I do not see the necessity for a pretrial conference, however, if there are
matters which you believe should be discussed in such a conference, please advise me no later
than Monday, April 3, 2006 and a conference will be set either in my chambers or by telephone.
Additionally, if deposition medical testimony will be introduced into evidence during the trial,
please submit copies of those depositions to my chambers in Jackson no later than April 10,

2006.

i':cument entered on the docket sheet |n compliance

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Mr. Carl Wyatt

Mr. Lester T. Wener
August 5, 2005
Page 2

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If you have any other questions about this matter, please advise.

Sincerely,

C§rz‘zm,~£c\

S. Thomas Anderson
U. S. Magistrate Judge

sTA/pdh

xc: Emily Smith
Docketin g Clerk

   

UNITD sATES DISTRIC COURT - wE"ERNT DISITRCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:04-CV-02776 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

Carl Wyatt

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Honorable S. Anderson
US DISTRICT COURT

